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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DTVISION


KARENA VAN HOOK, JANNA
ANDERSON, MICHAELA HARzuS,
ANd EBONY YARBROUGH,


               Plaintiffs,

       V.                                                 I   :   l6-CV-02755-ELR

VEROMCA ENTERPRISES, INC.
d/bla DIAMONDS OF ATLANTA,
VERONICA JONES, and CARMEN
POPOVITCH,

              Defendants.




                                        ORDER

       This matter is before the Court on a Motion to Approve FLSA Settlement

between Plaintiffs Karena Van Hook and Michaela Harris and Defendants

Veronica Enterprises, Inc. dlblaDiamonds of Atlanta, Veronica Jones, and Carmen

Popovitch.t [Ooc. 48]. Significantly, Plaintiffs' claims arise under the Fair Labor

Standards    Act ("FLSA"), which was enacted in 1938 for the                     purpose of

"protect[ing] all covered workers from substandard wages and oppressive working

I Plaintiffs Van Hook and Harris originally filed   the Motion to Approve FLSA Settlement
without a finalized written settlement agreement. [Doc. 48]. Defendants have since filed their
support of the settlement [Doc.5l] and Plaintiffs subsequently filed the finalized settlement
agreement on the docket [Doc. 52].
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conditions." Christopher v. SmithKline Beecham Corp.,567 U.S. 142, 147 (2012)

(quoting Barrentine v. Arkansas-Best Freight Sys., 450 U.S. 728, 739 (1981))

(internal quotation marks omitted). Taking into account the disparity of bargaining

power that often exists between employers and their employees, Congress made

the FLSA's wage and hour limitations mandatory. Brooklyn Sav. Bank v. O'Neil,

324 U.S. 697, 706 (1945). Thus, employers are prohibited from negotiating

agreements that require employees to waive certain minimum protections provided

for by the FLSA. Id.

       In this Circuit, courts have acknowledged that there are "only two ways in

which back wage claims arising under the FLSA can be settled or compromised by

employees." Lynn's Food Stores. Inc. v. United States, 679 F.2d 1350, 1352-53

(llth Cir. 1982).    The first option, which is inapplicable to this case, involves

actions taken by the Secretary of   Labor. Id. at 1353. The second route, on the
other hand, permits the presentation     of a proposed settlement         agreement   to   a

district court when an employee brings a private action for back wages pursuant to

29 U.S.C. $ 216(b). If, after scrutinizing the settlement, the district               court

determines that   it "is a fair and reasonable   resolution of a bona fide dispute of

FLSA provisions[,]" the court may enter a stipulated judgment. Id. at 1355. In this

context-when the employee is represented by counsel-there is some assurance

that the employee's rights under the statute   will   be protected, and "the settlement is

more likely to reflect a reasonable compromise of disputed issues than a mere
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waiver of statutory rights brought about by an employer's overreaching." Id. at

1354. To that end, the Court notes that Plaintiffs Van Hook and Harris                         are

represented by counsel in the present action.

        Importantly, the Settlement Agreement at issue is only between Plaintiffs

Karena Van Hook and Michaela Harris and Defendants. [Doc. 48 at                        l).2 After
reviewing the parties' Motion to Approve FLSA Settlement, the Court finds there is

a bona fide dispute regarding claims arising under the FLSA and the parties'
Settlement Agreement is a fair and reasonable resolution to this action. Although

Defendants deny Plaintiffs' allegations          of wrongdoing, the parties engaged in           an

arms-length settlement negotiation and eventually agreed upon terms to resolve this

dispute.

       Accordingly, the Court GRANTS the Motion to Approve FLSA Settlement

[Doc. 48] and APPROVES the parties' Settlement Agreement between Plaintiffs

Karena Van Hook and Michaela Harris and Defendants. Pursuant to the Motion, the

Court DISMISSES WITH PREJUDICE Plaintiffs Karena Van Hook                                      and

Michaela Harris' claims. The Court shall retain jurisdiction over this matter until

the terms set forth in the Settlement Agreement are complied                  with.    The Court

directs the Clerk to   ADMINISTRATMLY CLOSE this case.




2
 The Court notes that the claims of Plaintiffs Ebony Yarbrough and Janna Anderson are stayed
pending arbitration; the Court has directed that any eventual resolution of those matters shall be
submitted to the Court for approval. [Doc. 31].
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so oRDERED, tnirffiuvof April,2018.

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                                  Eleanor L. Ross
                                  United States District Judge
                                  Northem District of Georgia
